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           Your 2020 Social Security Cost of Living Adjustment

                                                                 BNC#:




RAYMOND N ERVIN
331 SPRINGSIDE LANE
BUFFALO GROVE IL 60089-1650




Your Social Security benefits will increase by 1.6% in 2020 because of a rise in the cost
of living. You can use this letter as proof of your benefit amount if you need to apply for
food, rent, or energy assistance. You can also use it to apply for bank loans or for other
business. Keep this letter with your important financial records.

How Much Will I Get And When?
    •   Your monthly amount (before deductions) is                             $1,824.00
    •   The amount we deduct for Medicare Medical Insurance is                     $0.00
        (If you did not have Medicare as of November 22, 2019, or if
        someone else pays your premium, we show $0.00.)
    •   The amount we deduct for your Medicare Prescription Drug Plan
        is                                                                          $0.00
        (We will notify you if the amount changes in 2020. If you did not
        elect withholding as of November 1, 2019, we show $0.00.)
    •   The amount we deduct for voluntary Federal tax withholding is               $0.00
        (If you did not elect voluntary tax withholding as of
        November 22, 2019, we show $0.00.)
    •   After we take any other deductions, you will receive                     $729.60
        on or about January 3, 2020.

If you disagree with any of these amounts, you must write to us within 60 days from the
date you receive this letter. Or visit www.ssa.gov/non-medical/appeal to appeal online.
We would be happy to review the amounts.

If you receive a paper check and want to switch to an electronic payment, please visit
the Department of the Treasury's Go Direct website at www.godirect.org online.

What If I Have Questions?
    •   Visit our website at www.socialsecurity.gov
    •   Call us toll-free at 1-800-772-1213 (TTY 1-800-325-0778)
    •   Contact your nearest Social Security office

                             705 NORTH WHEELING RD
                             MOUNT PROSPECT IL 60056



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Other Help For Seniors
Call the Eldercare Locator service of the U.S. Administration on Aging at
1-800-677-1116 or visit www.eldercare.acl.gov to learn about a wide variety of services
that may be helpful to you.

What If I Work In 2020?
If you are at full retirement age (now age 66) or older for all of 2020, you may keep all of
your benefits no matter how much you earn.

If you are younger than full retirement age at any time in 2020, there is a limit to how
much you can earn before we reduce your benefits. Continuing to work could result in
withholding some of your benefits. However, we would adjust your benefit amount once
you reach full retirement age to account for the months of withheld benefits. Also, we
use your 35 highest years of earnings to calculate your benefits. If you continue to work
and these earnings are higher than one of the years we used to compute your benefit,
your benefit amount may increase. Tell us right away if you expect to earn more than
the limit, so we can pay you correctly.

    •   The 2020 earnings limit for people under full retirement age all year is $18,240.
        We deduct $1 from your benefits in 2020 for each $2 you earn over $18,240.
    •   The 2020 earnings limit for people turning full retirement age is $48,600. We
        deduct $1 from your benefits in 2020 for each $3 you earn over $48,600 until
        the month you reach full retirement age.

What If I Worked In 2019?
If you were under full retirement age in 2019 and worked, we paid your benefits based
on your estimate of how much you would make. We will adjust your benefits as
necessary when your employer reports your earnings on your W-2 form. If the earnings
on your 2019 W-2 form(s) include money you earned in another year, please contact us
before April 15, 2020, to let us know.

    •   The 2019 earnings limit for people under full retirement age all year was
        $17,640.
    •   The 2019 earnings limit for people who turned full retirement age in 2019 was
        $46,920.

To Access my Social Security Online Services
Use your my Social Security online account to check your benefits and make sure
your contact information is up to date. If you have Medicare, it is important that you
keep your address up to date with Social Security. You can change your address or
telephone number, start or change direct deposit of your benefits, get a replacement
Medicare card, and get a benefit verification letter online.

Rules For Certain Family Members
    •   Tell us if you marry or remarry if you get benefits as a widow, widower, parent,
        or child.
    •   Tell us if a child who gets benefits no longer lives with you.
    •   Tell us if a stepchild gets benefits from your work, and you and the stepchild’s
        parent divorce.
    •   Tell us if you divorce or your spouse dies if you get benefits as a spouse.

Life Changes May Affect Eligibility For Federal Benefits
It's not unusual for people’s circumstances to change after they apply for or start
receiving benefits. These changes may increase your Federal benefits. For example,
if your spouse or ex-spouse dies, you may qualify for a higher Social Security benefit.
Visit www.ssa.gov/potentialentitlement to find out more. You also can use the Benefit

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Eligibility Screening Tool at www.ssabest.benefits.gov/ to find out about benefits from
Social Security.

Suspect Social Security Fraud?
If you suspect Social Security fraud, please visit https://oig.ssa.gov/report or call the
Inspector General’s Fraud Hotline at 1-800-269-0271 (TTY 1-866-501-2101).

Help Prevent Identity Theft
Be aware of scams through the mail, Internet, telephone, or in person. You should be
careful when someone asks for personal information, especially your Social Security
number. Please visit www.usa.gov/identity-theft to find out more.

Medicare Information
    •   Starting January 1, 2020, you should use your new Medicare card to get care.
        Old cards with Social Security numbers will no longer be accepted. If you do
        not have a new Medicare card, call 1-800-MEDICARE (1-800-633-4227) (TTY
        1-877-486-2048).
    •   To learn about Medicare eligibility or to apply, visit
        www.ssa.gov/medicare/mediinfo.html or call Social Security at 1-800-772-1213
        (TTY 1-800-325-0778).
    •   If you do not sign up for Medicare Part B (medical insurance) when you are first
        eligible, or if you cancel Part B and then get it later, you may have to pay a late
        enrollment penalty for as long as you have Part B.
    •   For questions about Medicare coverage and billing, visit www.Medicare.gov or
        call 1-800-MEDICARE (1-800-633-4227) (TTY 1-877-486-2048).
    •   The Extra Help program may help pay the costs of a Medicare Prescription
        Drug Plan for people with limited income and resources. Costs include
        premiums, deductibles, and co-payments. You can apply online at
        www.ssa.gov/medicare/prescriptionhelp or call Social Security at
        1-800-772-1213 (TTY 1-800-325-0778).
    •   The Medicare Savings Programs may help pay for Medicare premiums and
        other out-of-pocket costs for people with limited income and resources. You
        can start the application process when you apply for Extra Help or you can
        contact your State or local medical assistance (Medicaid) office.

Need Health Insurance Or Know Someone Who Does?
Visit www.HealthCare.gov or call 1-800-318-2596 (TTY 1-855-889-4325) to learn more.


                                         Social Security Administration




Form SSA-4926-SM (1-2020)
